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Case: 1:19-cv-00030-TSB-SKB Doc #: 3 Filed: 02/14/19 Page: 3 of 20 PAGEID #: 42
Case: 1:19-cv-00030-TSB-SKB Doc #: 3 Filed: 02/14/19 Page: 4 of 20 PAGEID #: 43
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